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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MINNESOTA



 SMARTMATIC USA CORP.,
 SMARTMATIC INTERNATIONAL
 HOLDING B.V., and SGO                            ORDER ON STIPULATION TO
 CORPORATION LIMITED,                            EXTEND DISPOSITIVE MOTIONS
                                                          DEADLINE
                              Plaintiffs,
                      v.

 MICHAEL J. LINDELL and MY
 PILLOW, INC.,                                  Case No. 22-cv-0098-JMB-JFD

                              Defendants.




       This matter is before the Court on the Parties Joint Stipulation to Extend Dispositive

Motion Deadline (Dkt. No. 360). The Court has reviewed the Joint Stipulation and finds it

sets forth good cause for the relief requested. Accordingly,

       IT IS HEREBY ORDERED THAT: The dispositive motion deadline, including

motions for summary judgment and Daubert motions, is extended from September 23,

2024 to November 13, 2024. Responses to any dispositive motions are due December 4,

2024. Replies in support of dispositive motions are due December 18, 2024.

       No additional fact or expert discovery may be taken, other than 30(b)(6) testimony

from MyPillow, Inc. and Lindell Management LLC, if necessary, on the topics specifically

held open on the record, as well as discovery already compelled by the Court, and discovery

currently subject to a pending motion to compel should the Court grant such motion.
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       No other adjustments to the Third Amended Pretrial Scheduling Order (Dkt. No.

267), including the trial-ready date, are made.



              Dated: September 9, 2024               s/ John F. Docherty
                                                     JOHN F. DOCHERTY
                                                     United States Magistrate Judge




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